             Case 17-54115-sms                                  Doc 8            Filed 03/17/17 Entered 03/17/17 15:46:03                                                              Desc Main
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 Fill in this information to identify the case:

 Debtor name            All Star Health Care, Inc. a Georgia Corporation

 United States Bankruptcy Court for the:                     NORTHERN DISTRICT OF GEORGIA

 Case number (if known)              17-54115
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            34,542.86

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            34,542.86


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            32,626.78

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            88,119.82


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             120,746.60




 Official Form 206Sum                                            Summary of Assets and Liabilities for Non-Individuals                                                                                   page 1
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 Case number (if known)         17-54115
                                                                                                                               Check if this is an
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Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                              12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
        Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                             Current value of
                                                                                                                               debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 2,000.00   -                                0.00 = ....                 $2,000.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                             12,994.36      -                                0.00 = ....               $12,994.36
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                             19,548.50      -                                0.00 = ....               $19,548.50
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                    0.00    -                                0.00 = ....                 Unknown
                                              face amount                           doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 1
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                Name


            11a. 90 days old or less:                                  0.00   -                                0.00 = ....                  Unknown
                                              face amount                         doubtful or uncollectible accounts




 12.        Total of Part 3.                                                                                                          $34,542.86
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
       Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

       No. Go to Part 7.
       Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

       No. Go to Part 8.
       Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

       No. Go to Part 9.
       Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

       No. Go to Part 10.
       Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

       No. Go to Part 11.
       Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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                Name


       No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Additional revenues from the VA were levied upon by
           the IRS shortly before the case was filed.                                                                                      Unknown




 78.       Total of Part 11.                                                                                                                  $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                            Current value of                       Current value of real
                                                                                                  personal property                      property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                  $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                       $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $34,542.86

 83. Investments. Copy line 17, Part 4.                                                                                   $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                     $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                            $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                            $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                        $0.00

 90. All other assets. Copy line 78, Part 11.                                                 +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                           $34,542.86             + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $34,542.86




Official Form 206A/B                                             Schedule A/B Assets - Real and Personal Property                                                            page 4
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 Debtor name         All Star Health Care, Inc. a Georgia Corporation

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)         17-54115
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                     page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         All Star Health Care, Inc. a Georgia Corporation

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)           17-54115
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
          priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                     Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                            $757.50         $757.50
           Amanda Gyimah                                             Check all that apply.
           4080 Landover Ct                                             Contingent
           Austell, GA 30106                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     CNA
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $3,461.54          $3,461.54
           Ashley Davis                                              Check all that apply.
           8 Perimeter East, Apt 1344                                   Contingent
           Atlanta, GA 30346                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Operations Manager
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 15
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 Debtor      All Star Health Care, Inc. a Georgia Corporation                                                 Case number (if known)   17-54115
             Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $285.00    $285.00
          Ashley Rush                                                Check all that apply.
          4200 Tara Dr.                                                 Contingent
          Forest Park, GA 30297                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $651.90    $651.90
          Boadicea Ward                                              Check all that apply.
          3129 Old Villa Rice Rd                                        Contingent
          Powder Springs, GA 30127                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,400.00    $2,400.00
          Bobby Davis                                                Check all that apply.
          70 Perimeter Center East                                      Contingent
          #2112                                                         Unliquidated
          Atlanta, GA 30346                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Chief Tech Officer
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $326.90    $326.90
          Bonita Taylor                                              Check all that apply.
          168 Holderness St SW                                          Contingent
          Atlanta, GA 30314                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 15
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 Debtor      All Star Health Care, Inc. a Georgia Corporation                                                 Case number (if known)   17-54115
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 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $495.70    $495.70
          Candy Andrews                                              Check all that apply.
          1690 Lee Street                                               Contingent
          Decatur, GA 30035                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $897.00    $897.00
          Carrie Pegues                                              Check all that apply.
          4162 Pilgrim Place                                            Contingent
          Austell, GA 30106                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $140.00    $140.00
          Chinyere Totty                                             Check all that apply.
          6737 Bill Carruth Pk                                          Contingent
          Apt 122                                                       Unliquidated
          Hiram, GA 30141                                               Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     RN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,007.00    $1,007.00
          Cleatrice McGregor                                         Check all that apply.
          4446 Westview Dr                                              Contingent
          Powder Springs, GA 30127                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 15
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 Debtor      All Star Health Care, Inc. a Georgia Corporation                                                 Case number (if known)   17-54115
             Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $795.00    $795.00
          Deliwe Ismail                                              Check all that apply.
          3251 Woodview Drive                                           Contingent
          Smyrna, GA 30082                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $202.20    $202.20
          Elnora Barnes                                              Check all that apply.
          5159 1st Street                                               Contingent
          Morrow, GA 30260                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA job title
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $350.00    $350.00
          Evita Bray                                                 Check all that apply.
          637 Ferris StSW                                               Contingent
          Atlanta, GA 30310                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          Georgia Department Of Labor                                Check all that apply.
          184 Andrew Young International                                Contingent
          Atlanta, GA 30303                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2016
          Last 4 digits of account number 6994                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 15
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 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          Georgia Department Of Revenue                              Check all that apply.
          P O Box 740321                                                Contingent
          Atlanta, GA 30374-0432                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number 6994                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          Internal Revenue Service                                   Check all that apply.
          Centralized Insolvency Dept.                                  Contingent
          PO Box 7346                                                   Unliquidated
          Philadelphia, PA 19101-7346                                   Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Priority payroll taxes
          Last 4 digits of account number 6994                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,933.68    $1,933.68
          LaDonna Briggs                                             Check all that apply.
          2651 Favor Road                                               Contingent
          Apt 1D06                                                      Unliquidated
          Marietta, GA 30060                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $600.00    $600.00
          Lizzie Thomas                                              Check all that apply.
          4002 Jessica Ave                                              Contingent
          Decatur, GA 30032                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 5 of 15
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 Debtor      All Star Health Care, Inc. a Georgia Corporation                                                 Case number (if known)   17-54115
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 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,584.40    $1,584.40
          Maria Sesay                                                Check all that apply.
          5029 Coltage Grove Pl                                         Contingent
          Union City, GA 30291                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,102.00    $1,102.00
          Marie Ann Ayawvi                                           Check all that apply.
          3797 North                                                    Contingent
          Decatur, GA 30032                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,587.50    $1,587.50
          Paula Roper                                                Check all that apply.
          234 Circle                                                    Contingent
          Douglasville, GA 30134                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $374.13    $374.13
          Qurie Orr                                                  Check all that apply.
          238 Glory Lane                                                Contingent
          Powder Springs, GA 30127                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,097.88       $1,097.88
          Regina Winfrey                                             Check all that apply.
          3756 Memorial Drive                                           Contingent
          Apt 8                                                         Unliquidated
          Decatur, GA 30032                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Sharbreque Faison                                          Check all that apply.
          34 Zimmer Woods Ct                                            Contingent
          Dallas, GA 30132                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $57.00       $57.00
          Sharon Toney                                               Check all that apply.
          2600 Laurice Ct                                               Contingent
          Decatur, GA 30034                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,396.35       $1,396.35
          Shawanna Brown                                             Check all that apply.
          6042 Creekford Dr                                             Contingent
          Lithonia, GA 30058                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $855.00       $0.00
          Soniaziaria Grisnold                                       Check all that apply.
          1325 Six Flags Dr SW                                          Contingent
          #914                                                          Unliquidated
          Austell, GA 30186-5000                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,149.52       $2,149.52
          Tammie Bell                                                Check all that apply.
          897 Joseph Club                                               Contingent
          Mableton, GA 30126                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Office Manager
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,535.46       $1,535.46
          Tanasia Parks                                              Check all that apply.
          250 Sage Dr                                                   Contingent
          Carrollton, GA 30116                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Tarshal Edwards                                            Check all that apply.
          1481 Pine Springs Dr                                          Contingent
          Kennesaw, GA 30152                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     RN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,643.38    $1,643.38
          Tonya Thomas                                               Check all that apply.
          1524 Norman Dr                                                Contingent
          Apt 907                                                       Unliquidated
          Atlanta, GA 30349                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,155.00    $1,155.00
          Tsega Woldegiorgia                                         Check all that apply.
          1437 Tillbury Place                                           Contingent
          Stone Mountain, GA 30083                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     CNA
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $555.00    $555.00
          Valentina Pharms-McNeill                                   Check all that apply.
          1507 Germaine Terrace                                         Contingent
          McDonough, GA 30253                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $600.00    $600.00
          Vickie Jones                                               Check all that apply.
          45 Olde Mill Rd.                                              Contingent
          Hiram, GA 30141                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     LPN
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.35       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $1,730.78    $1,730.78
            Victoria Davis                                           Check all that apply.
            70 Perimeter Center East                                    Contingent
            #2112                                                       Unliquidated
            Atlanta, GA 30346                                           Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Director
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.36       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                        $899.96     $899.96
            Vivian Miller                                            Check all that apply.
            363 Landmark Way                                            Contingent
            Austell, GA 30168                                           Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     CNA
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                         Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $160.00
           A-1 Shredding                                                               Contingent
           1791 W. Oak Pkwy                                                            Unliquidated
           Suite 10                                                                    Disputed
           Marietta, GA 30062
                                                                                   Basis for the claim:     Accounts
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $623.58
           ADP Payroll Services                                                        Contingent
           5680 New Northside Drive                                                    Unliquidated
           Atlanta, GA 30339                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Payroll Services
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $61.93
           ADP Screening and Selection Sr                                              Contingent
           P O Box 645177                                                              Unliquidated
           Cincinnati, OH 45264                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Accounts
           Last 4 digits of account number     6038
                                                                                   Is the claim subject to offset?     No       Yes




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 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $280.62
          ADT Security Services                                                 Contingent
          3190 S. Vaughn Way                                                    Unliquidated
          Aurora, CO 80014                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accounts
          Last 4 digits of account number      8626
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $243.64
          AFLAC                                                                 Contingent
          Worldwide Headquarters                                                Unliquidated
          Columbus, GA 31999                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employer withholding
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,016.00
          AM Trust North America                                                Contingent
          WCOMP Insurance                                                       Unliquidated
          P O Box 6939                                                          Disputed
          Cleveland, OH 44101-1939
                                                                             Basis for the claim:    Accounts
          Date(s) debt was incurred
          Last 4 digits of account number      1104                          Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,173.33
          American Funds Service Co.                                            Contingent
          PO Box 2280                                                           Unliquidated
          Norfolk, VA 23501                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    employer withholding on IRA
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $360.00
          ANY Lab Test                                                          Contingent
          2520 Windy Hill Rd.                                                   Unliquidated
          Ste 201                                                               Disputed
          Marietta, GA 30067
                                                                             Basis for the claim:    Accounts
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $171.36
          Atlanta Office Machine                                                Contingent
          552 Cobb Parkway SE                                                   Unliquidated
          Marietta, GA 30060                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accounts
          Last 4 digits of account number      AH00
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $110.00
          Change Health Care                                                    Contingent
          3055 Lebanon Pike                                                     Unliquidated
          Suite 1000                                                            Disputed
          Nashville, TN 37214
                                                                             Basis for the claim:    Accounts
          Date(s) debt was incurred
          Last 4 digits of account number      6994                          Is the claim subject to offset?     No       Yes




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 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $428.79
          CIT-CANNON Copier Lease                                               Contingent
          P O Box 550599                                                        Unliquidated
          Jacksonville, FL 32255-0599                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accounts
          Last 4 digits of account number      4000
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Clear Care                                                            Contingent
          650 Townsend St #410                                                  Unliquidated
          San Francisco, CA 94103                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accounts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $794.68
          Colonial Life                                                         Contingent
          Processing Center                                                     Unliquidated
          PO Box 1365                                                           Disputed
          Columbia, SC 29202
                                                                             Basis for the claim:    employer withholding
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $534.45
          Comcast                                                               Contingent
          P O Box 2127                                                          Unliquidated
          Norcross, GA 30091-2127                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accounts
          Last 4 digits of account number      4550
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $170.98
          Crystal Springs                                                       Contingent
          6750 Discovery Blvd                                                   Unliquidated
          Mableton, GA 30126                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accounts
          Last 4 digits of account number      0700
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,000.00
          Damien Pearson                                                        Contingent
          2850 Venice Road, SW # 1138                                           Unliquidated
          Birmingham, AL 35211                                                  Disputed
          Date(s) debt was incurred 2016
                                                                                            claim for back wages - Cobb County Magistrate
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Court action pending
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,608.18
          Dell Business Credit                                                  Contingent
          Dell Financial Services                                               Unliquidated
          P O Box 81577                                                         Disputed
          Austin, TX 78708-1577
                                                                             Basis for the claim:    Accounts
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,042.65
          Exxon                                                                 Contingent
          P O Box 6404                                                          Unliquidated
          Sioux Falls, SD 57117-6404                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accounts
          Last 4 digits of account number      4701
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $530.62
          First Insurance Funding                                               Contingent
          450 Skokie Blvd, Ste 1000                                             Unliquidated
          Northbrook, IL 60062-7917                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accounts
          Last 4 digits of account number      1520
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $735.95
          GIS                                                                   Contingent
          P O Box 538450                                                        Unliquidated
          Atlanta, GA 30353-8450                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accounts
          Last 4 digits of account number      0685
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $470.03
          Hartford Ins.                                                         Contingent
          Bonds and Property                                                    Unliquidated
          P O Box 330                                                           Disputed
          Clinton, NY 13323
                                                                             Basis for the claim:    Accounts
          Date(s) debt was incurred
          Last 4 digits of account number      2914                          Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $52,650.00
          James Scribner                                                        Contingent
          Kan Clark LLP                                                         Unliquidated
          2489 Paces Ferry Rd., Ste 215                                         Disputed
          Atlanta, GA 30339
                                                                             Basis for the claim:    loan
          Date(s) debt was incurred 2009
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,114.08
          Knight Capital                                                        Contingent
          9 East Lockerman Ste.3A-543                                           Unliquidated
          Dover, DE 19901                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Microsoft                                                             Contingent
                                                                                Unliquidated
          Redmond, WA 98052-6399                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accounts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.25      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $616.20
           Moore Medical                                                        Contingent
           PO Box 99718                                                         Unliquidated
           Chicago, IL 60696                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Accounts
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                Unknown
           Quickbooks                                                           Contingent
           Attn: Bankruptcy Dept.                                               Unliquidated
           7726 W. Winston Way                                                  Disputed
           Franklin, WI 53132
                                                                             Basis for the claim:    Accounts
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.27      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $760.57
           QUILL                                                                Contingent
           P O Box 37600                                                        Unliquidated
           Philadelphia, PA 19101-0600                                          Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Accounts
           Last 4 digits of account number     4787
                                                                             Is the claim subject to offset?     No       Yes

 3.28      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $1,180.96
           Shell                                                                Contingent
           P O Box 6406                                                         Unliquidated
           Sioux Falls, SD 57007-6406                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Accounts
           Last 4 digits of account number     3026
                                                                             Is the claim subject to offset?     No       Yes

 3.29      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $1,085.14
           Verizon                                                              Contingent
           P O Box 4001                                                         Unliquidated
           Acworth, GA 30101                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Accounts
           Last 4 digits of account number     0002
                                                                             Is the claim subject to offset?     No       Yes

 3.30      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $5,196.08
           Walmart                                                              Contingent
           Complete Pymt Recovery Service                                       Unliquidated
           3500 5th Street                                                      Disputed
           Northport, AL 35476
                                                                             Basis for the claim:    account
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
   of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts

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 5a. Total claims from Part 1                                                                       5a.       $               32,626.78
 5b. Total claims from Part 2                                                                       5b.   +   $               88,119.82

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                120,746.60




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 Fill in this information to identify the case:

 Debtor name         All Star Health Care, Inc. a Georgia Corporation

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)         17-54115
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   office lease at $800 per
             lease is for and the nature of               month. Debtor rejects
             the debtor's interest                        this month to month
                                                          tenancy
                 State the term remaining                 Month to month
                                                          tenancy                       Carlstadt, LLC
             List the contract number of any                                            630 Broad S
                   government contract                                                  Carlstadt, NJ 07072


 2.2.        State what the contract or                   All in one copier lease
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 expiration date was
                                                          2/21, but debtor rejects
                                                          the lease                     CIT-CANNON Copier Lease
             List the contract number of any                                            P O Box 550599
                   government contract                                                  Jacksonville, FL 32255-0599


 2.3.        State what the contract or                   Software Service -
             lease is for and the nature of               On-line ----Two year
             the debtor's interest                        agreement with
                                                          expiration date of June
                                                          1, 2018, but Debtor
                                                          rejects the lease.
                 State the term remaining                 2018
                                                                                        Clear Care
             List the contract number of any                                            650 Townsend St #410
                   government contract                                                  San Francisco, CA 94103


 2.4.        State what the contract or                   Service Contract for
             lease is for and the nature of               five years, with
             the debtor's interest                        expiration in 2021.
                                                          Debtor rejects the
                                                          contract
                 State the term remaining                 2021                          Veteran's Affairs
                                                                                        Choice Programs HM/HHA
             List the contract number of any                                            1670 Clairmont Rd.
                   government contract                                                  Decatur, GA 30032

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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 Debtor 1 All Star Health Care, Inc. a Georgia Corporation                                   Case number (if known)   17-54115
             First Name               Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 2 of 2
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 Debtor name         All Star Health Care, Inc. a Georgia Corporation

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)         17-54115
                                                                                                                              Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                       Column 2: Creditor



             Name                              Mailing Address                                      Name                        Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                           D
                                               Street                                                                             E/F
                                                                                                                                  G

                                               City                      State      Zip Code


    2.2                                                                                                                           D
                                               Street                                                                             E/F
                                                                                                                                  G

                                               City                      State      Zip Code


    2.3                                                                                                                           D
                                               Street                                                                             E/F
                                                                                                                                  G

                                               City                      State      Zip Code


    2.4                                                                                                                           D
                                               Street                                                                             E/F
                                                                                                                                  G

                                               City                      State      Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                   Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         All Star Health Care, Inc. a Georgia Corporation

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)         17-54115
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:     Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                $44,503.51
       From 1/01/2017 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $652,182.98
       From 1/01/2016 to 12/31/2016                                                                         Fees for service
                                                                                                   Other    income


       For year before that:                                                                       Operating a business                               $540,759.90
       From 1/01/2015 to 12/31/2015                                                                         Fees for service
                                                                                                   Other    income

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
   lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Internal Revenue Service                                                                      $40,000.00               Secured debt
               Atlanta, GA 39901                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other Federal tax levy



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                  Status of case
               Case number                                                                 address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of
   a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2

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                Recipient's name and address                    Description of the gifts or contributions                 Dates given                        Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                  Dates of loss         Value of property
       how the loss occurred                                                                                                                                 lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.     Daniel E. Raskin
                 325 Hammond Drive
                 Suite 114
                 Atlanta, GA 30328                                   Attorney Fees                                             3/3/17                  $1,500.00

                 Email or website address
                 Draskin@raskin-law.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                 Dates transfers           Total amount or
                                                                                                                       were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                          Description of property transferred or                    Date transfer          Total amount or
                Address                                         payments received or debts paid in exchange               was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 3

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 Debtor        All Star Health Care, Inc. a Georgia Corporation                                          Case number (if known) 17-54115




           Does not apply

                 Address                                                                                                    Dates of occupancy
                                                                                                                            From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                      Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care
       15.1.     All Star Health                                Debtor only provides ancillary support services at                      unknown at this time
                                                                patients' homes or locations,. Such services include
                                                                grooming, feeding, washing, etc.Debtor does not
                                                                provide any diagnosis or treatment of injury, deformity
                                                                or disease.

                                                                Location where patient records are maintained (if different             How are records kept?
                                                                from facility address). If electronic, identify any service provider.
                                                                Debtor has its records stored under lock and key.                       Check all that apply:

                                                                                                                                           Electronically
                                                                                                                                           Paper


 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  Medical records (care plan, diagnosis), Personal Identification
                  information (name, date of birth, Medicaid number, etc.)
                  Does the debtor have a privacy policy about that information?
                    No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension
    or profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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 Debtor      All Star Health Care, Inc. a Georgia Corporation                                            Case number (if known) 17-54115




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or           Date account was           Last balance
              Address                                           account number            instrument                   closed, sold,          before closing or
                                                                                                                       moved, or                       transfer
                                                                                                                       transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?


 Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                   Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and               Environmental law, if known              Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and               Environmental law, if known              Date of notice
                                                                      address

 Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

       Name and address                                                                                                                         Date of service
                                                                                                                                                From-To
       26a.1.       Hubert Pereira, CPA                                                                                                         2016
                    1640 Powers Ferry Rd. Bldg. 3,
                    Marietta, GA 30067

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6

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               Name of the person who supervised the taking of the                           Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                              or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Victoria Davis                                8 Perimeter Center East                              CFO                                    100%
                                                     Unit 1344
                                                     Atlanta, GA 30346


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of               Dates              Reason for
                                                                property                                                                     providing the value
       30.1 Vicoria Davis
       .    8 Perimeter Center East                                                                                       12 months
               Unit 1344                                                                                                  prior to filing
               Atlanta, GA 30346                                $31538.50 salary                                          case               salary

               Relationship to debtor



       30.2 Ashley Davis
       .    8 Perimeter Center East
               Unit 1344                                                                                                  12 months
               Atlanta, GA 30346                                $51,046                                                   prior to filing    salary

               Relationship to debtor
               Operations Manager


       30.3 T. Bell                                                                                                       12 months
       .                                                        $28310.70                                                 prior to filing    salary

               Relationship to debtor
               office manager


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation




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32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:    Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
      true and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         March 17, 2017

 /s/ Ashley Davis                                                        Ashley Davis
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         Operations Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8

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                                                                       Document      Page 33 of 36
 Fill in this information to identify your case:

 Debtor 1                  Ashley Davis
                           First Name                          Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)       First Name                          Middle Name                          Last Name

 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF GEORGIA

 Case number           17-54115
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              34,542.86

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              34,542.86

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $                      0.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              32,626.78

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              88,119.82


                                                                                                                                  Your total liabilities $                  120,746.60


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                      N/A

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                      N/A

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                   Summary of Your Assets and Liabilities and Certain Statistical Information                                                     page 1 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
            Case 17-54115-sms                         Doc 8           Filed 03/17/17 Entered 03/17/17 15:46:03                  Desc Main
                                                                     Document      Page 34 of 36
 Debtor 1      All Star Health Care, Inc. a Georgia
               Corporation                                                                Case number (if known) 17-54115

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                              $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                page 2 of 2
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               Case 17-54115-sms                      Doc 8           Filed 03/17/17 Entered 03/17/17 15:46:03                        Desc Main
                                                                     Document      Page 35 of 36




 Fill in this information to identify your case:

 Debtor 1                 Ashley Davis
                          First Name                        Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name             Last Name

 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF GEORGIA

 Case number           17-54115
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                   Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Ashley Davis                                                          X
              Ashley Davis                                                              Signature of Debtor 2
              Signature of Debtor 1

              Date     March 17, 2017                                                   Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
            Case 17-54115-sms                         Doc 8           Filed 03/17/17 Entered 03/17/17 15:46:03                    Desc Main
                                                                     Document      Page 36 of 36
B2030 (Form 2030) (12/15)
                                                              United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re       All Star Health Care, Inc. a Georgia Corporation                                                 Case No.      17-54115
                                                                                    Debtor(s)                 Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  1,500.00
             Prior to the filing of this statement I have received                                        $                  1,500.00
             Balance Due                                                                                  $                       0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                 Other (specify):            operations manager paid and will be refunded by debtor

4.     The source of compensation to be paid to me is:

                  Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]
                 Advising client.Filing all necessary paperwork, attending meeting(s) with Trustee (and Creditors), providing the
                 Trustee and US Trustee with any additional documentation required to complete the case.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Filing fee is $335.
               Litigation, including Trustee depositions, if necessary, to be billed on time basis at $250 per hour.
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 17, 2017                                                                /s/ Daniel E. Raskin
     Date                                                                          Daniel E. Raskin 594950
                                                                                   Signature of Attorney
                                                                                   Daniel E. Raskin
                                                                                   325 Hammond Drive
                                                                                   Suite 114
                                                                                   Atlanta, GA 30328
                                                                                   404-255-8878 Fax: 404-255-8845
                                                                                   Draskin@raskin-law.com
                                                                                   Name of law firm




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